                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                              No. 5:18-cv-200

SHAWNA CANNON LEMON,                   )
                                       )
                          Plaintiff,   )
                                       )
      v.                               )      PLAINTIFF’S MEMORANDUM OF
                                       )         LAW IN OPPOSITION TO
MYERS BIGEL, P.A., formerly known      )         DEFENDANTS’ MOTION
as “Myers Bigel & Sibley” and “Myers   )              TO DISMISS
Bigel Sibley & Sajovec, P.A., LYNNE    )
A. BORCHERS, and UNNAMED               )
OTHERS,                                )
                                       )
                          Defendants   )


      Pursuant to Local Civil Rules 7.1(e) and 7.2, plaintiff Shawna Cannon Lemon

(“Lemon”), by and through undersigned counsel, hereby respectfully submits this

memorandum of law in opposition to defendants’ motion to dismiss in this action.

                           NATURE OF THE CASE:

      On April 4, 2016, Lemon filed this civil action against defendants Myers

Bigel, P.A. (individually “MB” and collectively “Defendants”) and Lynne A. Borchers

(individually “Borchers” and collectively “Defendants”) in the Wake County

Superior Court. In her complaint, Lemon asserted discrimination and retaliation

claims against Defendants for violations of 42 U.S.C. § 2000e-1, et seq. and 42

U.S.C. § 1981. Defendants were served with process on April 9, 2016 (Borchers) and

April 12, 2016 (MB). On May 9, 2016, Defendants filed a notice of removal of this

action to the United States District Court for the Eastern District of North




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Carolina. After filing several consent motions to extend time, which were granted

by the Court, Defendants filed the pending motion to dismiss Lemon’s claims,

pursuant to Fed. R. Civ. P. 12(b)(6). For reasons stated herein, Lemon opposes

Defendants’ motion to dismiss.

                                     ISSUES PRESENTED:

      I.       Title VII of the Civil Rights Act of 1964 prohibits employers from
               discriminating against individuals because of their gender and
               retaliating against individuals because of their cooperation in
               investigations for discrimination. Title VII permits shareholders to sue
               a qualified corporate “employer” so long as the shareholder is a “person
               aggrieved” under the statute. Did Lemon state claims against the
               corporate “employer” under Title VII even though she was a
               shareholder?

       II.     Section 1981 provides individuals with the right to the performance
               and enjoyment of all benefits from contractual relationships without
               regard for race. Under the Swierkiewicz and Iqbal standards, did
               Lemon state a plausible Section 1981 claim for race discrimination
               when Defendants denied her the benefit of short-term leave for which
               she was qualified under the standards Defendants applied when
               approving short-term leave for persons of a race other than Lemon’s
               race.


                             STATEMENT OF THE FACTS:1

       Shawna Lemon is an attorney licensed by the North Carolina State Bar. (¶ 13)

She is a black female of African-American descent. (¶ 1) In addition to a law degree,

Lemon has also earned a Ph.D. in biomedical sciences/pharmacology. (¶ 13) In

September 2001, MB hired Lemon to serve as one of its patent lawyers. (¶ 14) Lemon

worked as a patent attorney for MB until December 31, 2016. (¶14) Lemon generally


1All paragraph citations contained in this section reference the corresponding paragraphs in
Lemon’s complaint in this action.

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excelled in the performance of her job duties at MB. (¶15) At no time throughout her

tenure did she ever receive any disciplinary actions. (¶16) As a general practice,

Lemon treated all supervisors, colleagues, and subordinates in a professional manner

with fairness, respect, and good will. (¶ 16)

      During the Spring 2016, several female attorneys/employees at MB asserted

complaints about gender discrimination, including a hostile work environment

because of gender. (¶ 17) MB hired attorney Kevin S. Joyner (“Joyner”) of the Ogletree

Deakins law firm to investigate and advise it concerning these claims of gender

discrimination. (¶ 17) As part of the investigation, Joyner met with Lemon on June

2, 2016 to determine her personal knowledge about the gender discrimination in MB’s

workplace. (¶ 18) Joyner made clear to Lemon that he did not represent her regarding

her sincere concerns about gender discrimination in MB’s workplace. (¶20)

      During the course of the interview, Lemon candidly reported her personal

knowledge about gender discrimination in MB’s culture and workplace environment.

(¶19) Using the substantive information gathered from the investigation, including

that provided by Lemon, Joyner prepared a “confidential memorandum” that

confirmed or corroborated the existence of gender discrimination in MB’s work

environment. (¶ 22) Around June 14, 2016, Joyner provided MB’s board of directors

with a copy of the “confidential memorandum” that included the information provided

to him by Lemon and other female attorneys, which confirmed or corroborated the

existence of gender discrimination in MB’s workplace. (¶22)




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      On June 15, 2016, MB’s board of directors met to review and discuss Joyner’s

“confidential memorandum” among MB’s board members. (¶24) During this meeting,

MB’s board members openly excoriated Lemon after reviewing the confidential

memorandum. (¶25) One board member openly referred to Lemon’s hostile workplace

concerns as being “idiotic” while another board member added that he would have

said “much worse” in response to the other board member’s ad hominem attack. (¶

25) Other board members literally screamed at Lemon to “grow up” and “stop

complaining” while others chastised Lemon for having hired a lawyer to advise her

during the course of Joyner’s interview. (¶ 25) These derisive comments to and about

Lemon were made openly during the board meeting without any reproach or

reprimand by MB. (¶ 25)

      Following the board meeting, one MB shareholder told another that Lemon

“played the black card too much.” (¶ 27) This board member’s reference was based on

her own unfair and inaccurate racial stereotype about African-Americans being

persons who knowingly voice false concerns about racism in the workplace in an effort

to gain some material advantage. (¶ 28) Even though Lemon had not previously

complained to MB about “race” or being “black,” the shareholder used it as an effort

to discredit and isolate Lemon from collegiality and support in the workplace in

retaliation for having reported gender discrimination to Joyner. (¶¶ 27, 29)

      Shortly thereafter on July 8, 2016, a MB shareholder and management

committee member prepared and circulated an email to MB’s shareholder/employees

that referenced Lemon as a “bad asshole” for having expressed undisputed “sincere



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concerns” about gender discrimination to Joyner. (¶ 30) The email stated that MB

needed more “good assholes” instead. (Id.) On July 13, 2016, MB’s board of directors

unilaterally expelled a female member of MB’s management committee in retaliation

for having complained about MB’s hostile work environment towards women, as was

reported in Joyner’s “confidential memorandum.” (¶31) Also during this board

meeting, a non-shareholder attorney openly reprimanded Lemon for her having

expressed sincere concerns about gender discrimination at MB. (¶32) At the board

meeting, he openly directed Lemon to “leave [the firm] and do better.” (Id.)

      Around September 14, 2016, Lemon elected to participate in MB’s short-term

leave/short-term disability (“STL”) plan as a qualified applicant under the firm’s

policies and procedures. (¶ 33) In addition to qualifying to participate through her

own health condition at the time, Lemon additionally qualified to participate due to

two additional independent qualifying events that were experienced by Lemon’s

immediate family members. (¶34) Prior to Lemon’s election, MB’s management

committee would ministerially confirm an attorney/employee’s STL request and

simply inform MB’s board of directors about the attorney/employee’s election to

participate in the STL plan. However, instead of approving her election at the typical

ministerial management committee level, MB subjected Lemon to insensitive

questioning about her health at the management committee level and required her

to obtain and present additional medical documentation. (¶36)

      Lemon obtained the requested additional medical documentation from her

physician confirming the need for accommodations through the STL plan. (¶ 37)



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When Lemon offered to provide this information in emails to MB’s director of

administration, MB informed Lemon that she instead would need to address MB’s

board of directors about her request to participate in the STL plan, notwithstanding

her having unquestionable, multiple qualifying events. (Id.) MB placed the issue of

Lemon’s STL request on its board of director’s agenda for the October 19, 2016

meeting. (¶38) By placing Lemon’s STL request on the board’s agenda, MB facilitated

an open discussion among MB’s board members about Lemon’s private health

condition, which was an underlying basis for the leave request. (¶39) Prior to the

board meeting of October 19, MB’s management committee circulated modified notes

of its previous meetings that falsely attributed comments to Lemon showing

unresolved conflict and that the management committee should consider adverse

action against Lemon for “undermining” the firm. (¶¶ 49-53) The purpose was to

discredit Lemon and force a denial of her request for STL leave. (Id.)

      During the board of director’s meeting of October 19, 2016, MB directed Lemon

and one of the female discrimination complainants (who incidentally was not making

an STL election) to leave the meeting so that the board of directors could discuss the

issue in their absences. (¶¶ 40-41) The board of directors expelled Lemon and the

other female member (who had previously complained about the hostile work

environment) so that the members could more freely discuss discriminatory and

retaliatory acts concerning Lemon and the other female member who had previously

complained. (Id.)




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      After a brief discussion about Lemon’s STL election, MB’s board of directors

voted to deny the STL election by Lemon even though she was qualified to participate

under MB’s policies. (¶ 42) Prior to this meeting, MB’s board of directors had never

previously required its Caucasian attorneys/shareholders to disclose specific medical

conditions to prove qualification, never required any other attorneys/shareholders to

present physician statements confirming health conditions, and never required

attorneys/shareholders to present their request for STL plan participation to the

board of directors for approval. (¶¶ 43-44)

      Immediately following the board of directors’ rejection of Lemon’s STL election,

MB’s managing shareholder, Borchers, discussed “punishment” for “bad behavior”

and specifically mentioned Lemon’s name along with that of another female attorney

who had complained about gender discrimination in MB’s workplace for having “hired

a lawyer” back in June 2016 to discuss the sincere concerns each had about MB’s

hostile work environment towards female attorneys and employees. (¶ 45) Borchers

then proceeded to discuss a range of punishment for Lemon with MB’s board of

directors, including the prospect of censure, monetary penalties, and termination.

(¶46) The board of directors under Borchers’ direction further discussed changing

MB’s compensation plan (and thus Lemon’s compensation) for the retaliatory purpose

of detrimentally affecting Lemon’s compensation. (¶47) In fact, MB’s purpose in

denying Lemon’s valid and qualified request for STL leave was to retaliate against

her by causing financial and emotional costs that would serve in significant part as




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“punishment” for having participated and assisted in standing against gender

discrimination in her disclosures to Joyner. (¶ 48)

      Around November 2, 2016, Lemon became aware that MB’s management

committee had openly discussed racial and gender discrimination and its retaliatory

actions against Lemon (and the EEO complainants) during at least one of its

meetings. (¶54) Specifically, Lemon learned that MB’s management committee had

discussed terminating her as part of the retaliation and discussed a motion to

terminate Lemon’s employment. (¶ 55) During a practice group meeting on November

4, 2016, MB’s shareholders interrogated Lemon by asking about her “intentions” and

whether she was going to sue the firm. (¶56) MB’s shareholders further openly

chastised Lemon during the meeting for having hired a lawyer to address her sincere

concerns about MB’s hostile work environment towards women. (¶57) In a (perhaps

no so) veiled threat, one shareholder ominously asked Lemon at the practice group

meeting what would happen “if somebody pushed [her] off the cliff?” (¶58)

      On November 5, 2016, MB’s managing shareholder, Borchers, emailed Lemon

to inform that Lemon was being placed “on the agenda” for the board of directors

meeting scheduled for a few days later because of the referenced practice group

meeting and “workplace concerns” without further specification. (¶59) Lemon

subsequently provided MB’s management committee with documentation from a

health care provider that indicated she needed to avoid stress during this time for

health reasons. (¶ 60) MB’s hostile work environment had caused Lemon to




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experience inter alia difficulty in breathing through the exacerbation of her asthmatic

condition. (Id.)

       On December 23, 2016, Lemon tendered her resignation to MB because she

could no longer work under the extraordinary stress, humiliation and hostile work

environment that she had been experiencing in MB’s workplace. (¶ 61)

                                    ARGUMENT:

 I.    Standard for review.

       “To survive a motion to dismiss under Fed. R. Civ. P 12(b)(6), a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S.

at 570). “In other words, the complaint’s factual allegations must produce an

inference of liability strong enough to nudge the plaintiff's claims ‘across the line from

conceivable to plausible.’” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

F.3d 250, 256 (4th Cir. 2009)(citing Iqbal, 556 U.S. at 683). A plaintiff is not required

to plead facts that constitute a prima facie case to survive a motion to dismiss.

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510-11 (2002); McCleary-Evans v Md.

DOT, 780 F.3d 582, 584 (4th Cir. 2015). Fed. R. Civ. P. 8(a)(2) “requires only a short

and plain statement of the claim showing the pleader is entitled to relief . . .”

Twombly, 550 U.S. at 555. Specific facts are not necessary; the statement need only


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“give the defendant fair notice of what the . . . claim is and the grounds upon which

it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007).

      To state a claim under Title VII, plaintiff is required only to allege facts to

satisfy the elements of a cause of action created by that statute—i.e. . . . the

[defendant] “fail[ed] or refus[ed] to hire” her “because of [her]race . . . [or] sex.”

McCleary-Evans, 780 F.3d at 591. The court must determine whether it is plausible

that the factual allegations in the complaint are enough to raise a right to relief above

the speculative level. Simmons v. United Mortg. & Loan Inv., LLC, 634 F.3d 754, 757

(4th Cir. 2011).

      Employment discrimination claims carry no heightened pleading standard. See

Twombly, 550 U.S. at 569-70.In considering a motion to dismiss made under Rule

12(b)(6), “[the] court accepts all well-pled facts as true and construes these facts in

the light most favorable to the plaintiff in weighing the legal sufficiency of the

complaint.” Erickson, 551 U.S. at 93-94; Nemet Chevrolet, Ltd., 591 F.3d at 255. The

court draws all reasonable inferences in favor of the plaintiff. Id. This standard,

applied to the applicable law discussed below, dooms Defendants’ motion.

 II. Defendant’s motion to dismiss Lemon’s sex discrimination
     and retaliation claims under Fed. R. Civ. P. 12(b)(6) should
     be denied because Lemon alleged sufficient facts plausibly
     showing she was an “individual” and “person aggrieved”
     within the meaning of Title VII.

      Defendants argue that Lemon’s Title VII claims “must be dismissed” because

Title VII only applies to “employee/employer” relationships and that Lemon had not

adequately alleged that she was an “employee” of defendant MB. (DB p. 1) Notably,


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Defendants do not challenge the notion that when construing the facts to be true,

Lemon alleged sufficient facts showing it plausible that defendant MB

discriminated against Lemon because of her gender and retaliated against her for

engaging in activity protected under law. Accordingly, acknowledging sufficient

facts showing defendant MB plausibly discriminated against Lemon because of her

gender and retaliated against her for engaging in protected activity, the sole

question for the Court as to this issue is whether Lemon was protected from sex

discrimination and retaliation as an “individual” and “person aggrieved” under Title

VII even if she was a concurrent employee and shareholder for defendant MB.

      A.     Title VII should be liberally construed in light of its remedial
             purpose.

      The purpose of Title VII of the Civil Rights Act is to eliminate discrimination

in employment based on race, color, religion, sex, or national origin. Griggs v. Duke

Power Co., 401 U.S. 424, 429 (1969). “Congress clearly included in the objectives of

Title VII the elimination of job discrimination in professional fields including law

and medicine.” See Lucido v. Cravath, Swaine & Moore, 425 F. Supp. 123, 126

(S.D.N.Y. 1977). The courts have accorded a liberal interpretation to Title VII to

effectuate this Congressional purpose. Butler v. Drive Auto. Indus. Of Am., 793 F.3d

404, 409-10 (4th Cir. 2015)(“Title VII should be liberally construed in light of its

remedial purpose”); see also Rogers v. EEOC, 454 F.2d 234, 238 (5th Cir. 1971),cert.

denied, 406 U.S. 957 (1972)(“Congress intended that Title VII proscribe employment

discrimination ‘in the broadest possible terms’ and, accordingly, it ‘should be

accorded a liberal interpretation . . . to effectuate the purpose of Congress to

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eliminate the inconvenience, unfairness and humiliation of [employment]

discrimination”).

      The Fourth Circuit has recently demonstrated the judicial trend to interpret

Title VII terms in an expansive measure to achieve its purposes. In Butler, the

Fourth Circuit determined whether “joint employers” could be liable to employees

as an “employer” under Title VII. Butler, 793 F.3d at 409-10. After recognizing the

remedial purpose behind Title VII, the Fourth Circuit held that an expansive scope

of interpretation for the statutory definition of “employer” was in accordance with

its Congressional purpose. Id.; see also Magnuson v. Peak Tech. Servs., 808 F.Supp.

500, 508 (E.D.Va. 1992)(“the term ‘employer’ under Title VII should be ‘construed in

a functional sense to encompass persons who are not employers in conventional

terms, but who nevertheless control some aspect of an individual’s compensation,

terms, conditions, or privileges of employment’”).

      B.     By its plain language, Title VII broadly protects “individuals”
             within workplace from sex discrimination and retaliation by
             an “employer” (defined as that with 15 or more employees) and
             enables “persons aggrieved” with a private right to action.

      Title VII declares it an unlawful employment practice for an employer (i.e.

defined as entities with 15 or more employees) to “. . . discriminate against any

individual with respect to [her] compensation, terms, conditions, or privileges of

employment, because of such individual’s . . . sex . . .” 42 U.S.C. § 2000e-

2(a)(Emphasis added). The term “employer” is specifically defined in relevant part

as a “person engaged in an industry affecting commerce who has fifteen or more

employees . . .” 42 U.S.C. § 2000e(b). In this case, Defendants do not dispute that

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defendant MB met the definition of the term “employer” under Title VII by having

fifteen or more employees during the statutorily relevant times, as defined by

statute. 42 U.S.C. § 2000e(b). The question Defendants raise is whether Lemon, as a

shareholder, had standing to sue defendant MB under Title VII even though MB is

undoubtedly an “employer” within the scope of the statute.

      Congress specifically chose the expansive term “individual,” rather than the

more limited term of “employee” in the description of the proscribed actions by

employers, as contained in 42 U.S.C. § 2000e-2(a) and § 2000e-3(a); Kennedy v. St.

Joseph’s Ministries, Inc., 657 F.3d 189, 192 (4th Cir. 2011)(“as in all statutory

construction, unless otherwise defined, words will be interpreted as taking their

ordinary, contemporary, common meaning”).

      The Act defines “employee” as “an individual employed by an employer.” 42

U.S.C. § 2000e(f). However, in providing the right to file private civil actions in

district court, Congress specifically omitted using the term “employee,” but instead

chose the substantially more expansive term “person aggrieved” as for standing to

file suit under Title VII. 42 U.S.C. § 2000e-5(f)(1); see also Sibley Mem’l Hosp. v.

Wilson, 488 F.2d 1338, 1341 (D.C. Cir. 1973)(“The Act defines ‘employee’ as ‘an

individual employed by an employer,’ but nowhere are there words of limitation

that restrict references in the Act to ‘any individual’ to include only former

employees or applicants for employment, in addition to present employees”).

Moreover, as for retaliation, Congress explicitly included “any individual” (in

addition to “employees”) for protection, thus, indicating an intent for broad



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applicability well beyond that of a mere “employee” in the workplace. See 42 U.S.C.

§ 2000e-3(a).

      The central question is whether Lemon was a “person aggrieved” within the

meaning of Title VII and, therefore, has standing to bring the claims for gender

discrimination and retaliation against defendant MB. Consistent with the

expansive purpose of Title VII in eradicating discrimination, Congress defined the

term “person” to include individuals in addition to corporate entities and

governmental agencies. 42 U.S.C. § 2000e(a). If Congress intended to exclude from

its definition of “person” to exclude individuals who are shareholders, it would have

specifically said so--- or at least narrowed the purposeful wide-scope of the terms

“individuals” and “person aggrieved,” simply by substituting the statutory language

with the term “employee.”

      Put differently, by Title VII’s plain language, Congress specifically intended

an expansive scope for individuals, such as Lemon, to have the protections from

illicit discrimination and retaliation by employers as it pertains to their

compensation, terms, conditions or privileges of employment, and provided those

individuals, so aggrieved, with standing to assert protections under Title VII. 42

U.S.C. §§ 2000e-2 and 2000e-5; see Kennedy v. St. Joseph’s Ministries, Inc., 657 F.3d

189, 191 (4th Cir. 2011)(“If the statute is unambiguous, ‘our inquiry into Congress’

intent is at an end, for if the language is plain and the statutory scheme is coherent

and consistent, we need not inquire further”).




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       It follows that defendant MB--- which entity indisputably qualified as an

“employer” under Title VII by having fifteen or more employees--- had a legal duty

not to discriminate against individuals because of their sex in the terms and

conditions of employment, or otherwise, risks facing a Title VII action from any

person aggrieved. See 42 U.S.C. §§ 2000e(b).2 If Congress intended to limit standing

under Title VII only to “employees,” it would have simply used the term

“employees,” instead of using the terms “individuals” and “persons aggrieved.”

Alternatively, Congress could have altered the definition of the term “employer,”

but instead chose to limit it only by the minimum number of individuals necessary

to qualify as an “employer.” As such, by its plain language, Lemon has standing

under Title VII to assert her sex discrimination and retaliation claims against MB

for its unlawful business practices within the workplace.

       C.      Even under the Clackamas standard, which applies to
               determining the threshold number of “employees” sufficient to
               satisfy the qualification for “employer,” Lemon alleged
               sufficient facts plausibly showing she has standing to assert
               claims for sex discrimination and retaliation under Title VII.

       Defendants argue the applicability of the Supreme Court’s holding in

Clackamas as for who has standing to file a civil action under Title VII. See

Clackamas Gastroenterology Assoc. P.C. v. Wells, 538 U.S. 440 (2003). In

Clackamas, the plaintiff filed suit against the defendant, pursuant to the Americans




2 Note that in their brief, Defendants only reference the unlawful employment practices pertaining to
employees in subsection 2 of 42 U.S.C. § 2000e-2. Defendants completely omit the applicable
subsection 1, which directly references “or otherwise discriminate against any individual . . . .” See
DB p. 6; c.f. 42 U.S.C. § 2000e-2(a) and (b)(Emphasis added). Defendants’ selective citation of the law
in its brief to this Court does not fairly state its applicability as it pertains to this action.

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with Disabilities Act of 1990 (“ADA”). See 42 U.S.C. §§ 12101, et seq.3 The

Clackamas plaintiff was a bookkeeper for defendant corporation and, undoubtedly,

an “employee” for ADA purposes with standing in which to assert a disability

discrimination claim. Clackamas, 538 U.S. at 442. Instead, the Court was called to

determine whether the defendant corporation was covered under the ADA because

(unlike the case at bar) it did not have the statutory requisite of 15 or more

employees. Id. The Court had to determine who counted as “employees” for purposes

of determining “15 or more employee” threshold to confer statutory jurisdiction. The

central issue in Clackamas was a completely different issue that is presented in the

case at bar where there is no dispute that defendant MB had the requisite number

of employees to count as an “employer” under Title VII.

       However, assuming arguendo that the Clackamas holding applies for

standing to assert protection from Title VII, Lemon has asserted sufficient facts

plausibly showing her to be an “employee” under Title VII under this standard. In

Clackamas, the issue was whether four physician-shareholders who owned the

professional corporation and constituted its board of directors should be counted as

“employees” in the determination as whether the professional corporation had the

requisite 15 employees for statute applicability. Id. In its decision, the Court held

six factors to be considered in determining whether an individual “acts



3The ADA provides a specialized, unique definition for both a “qualified individual,” “covered entity,”
and “employer.” 42 U.S.C. § 12111(2), (5) and (8). Any “person” can bring a claim “in violation of any
provision” of the ADA. 42 U.S.C. § 12117(a). However, what constitutes a violation is limited in
relevant part by 42 U.S.C. § 12112(a)(“No covered entity shall discriminate against a qualified
individual on the basis of disability in regard to . . . terms, conditions, and privileges of
employment”)(Emphasis added).

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independently and participates in managing the organization” (hence an “employer”

and not counted in the 15 or more person threshold) or whether the “individual is

subject to the organization’s control” (hence an “employee” subject to the 15 or more

person threshold). Id. at 449. The critical factor is whether an individual exhibits a

level of “control” over an entity such that she should be considered as an “employer”

rather than an “employee.”

       The Court found the following six factors, drawn from EEOC’s Compliance

Manual, as relevant to the inquiry whether a shareholder-director in a particular

work situation is an “employer” or an “employee” for purposes of counting the 15

employee minimum threshold:

              Whether the organization can hire or fire the individual or set rules
              and regulations of the individual’s work;

              Whether and, if so, to what extent the organization supervises the
              individual’s work;

              Whether the individual reports to someone higher in the organization;

              Whether and, if so, to what extent the individual is able to influence
              the organization;

              Whether the parties intended that the individual be an employee, as
              expressed in written agreements or contracts;

              Whether the individual shares in the profits, losses, and liabilities of
              the organization.

       Id. at 449-50. The Court held that “the answer to whether a shareholder-

director is an “employee” to determine whether the threshold was met depended on

‘all of the incidents of the relationship . . . with no one factor being decisive.’” Id. at

450-51; see also Goldberg v. Whitaker House Coop., Inc., 366 U.S. 28, 32

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(1961)(“There is nothing inherently inconsistent between the coexistence of a

proprietary and an employment relationship). After establishing the standard for

what constituted an “employee” in determining whether an entity is an “employer”

with potential ADA liability, the Court ultimately remanded the case to the district

court for further findings. Id.

       In her complaint, Lemon alleged sufficient facts showing a plausible

conclusion that she met the Clackamas standard for “employee” to the extent

applicable. Lemon was employed by defendant MB to serve as one of its patent

lawyers. (Compl. ¶ 14) Defendant MB could “hire or fire Lemon at any time with or

without cause.” (Comp. ¶¶14(a), 55) This fact is further supported by the fact that

Lemon “met or exceeded all reasonable work expectations . . . and generally excelled

in the performance of her job duties.”4 (Compl. ¶ 16) A “non-shareholder attorney”

openly reprimanded Lemon for her having expressed sincere concerns about gender

discrimination and further directed her to “leave [the firm] and do better.”5 (Compl.

¶ 32) MB’s managing shareholder openly discussed “punishment” for “bad behavior”

that she had attributed to Lemon for having “hired a lawyer.” (Compl. ¶ 45) There

was an open discussion by MB’s board of directors about a “range of punishment”

for Lemon, including the potential for “public censure, monetary penalties, and

termination.” (Compl. ¶ 46)(Emphasis added) A plan to terminate Lemon was




4 The reasonable implication being that if Lemon did not meet the reasonable expectations of her
employer, that she would have been terminated for performance reasons rather than discrimination
or retaliation.
5 i.e. conduct by an “of counsel” attorney wholly inconsistent if the target of his criticism, Lemon,

were one with “power” or “control” of MB.

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openly discussed by MB’s management committee and another shareholder had

specifically discussed a motion to terminate Lemon’s employment. (Compl. ¶55) MB

called Lemon to appear before the board of directors to answer “some tough

questions.” (Compl. ¶59)

       In his investigation concerning MB’s hostile work environment, MB’s lawyer

informed Lemon prior to interviewing her that he did “not represent” Lemon, but

that he represented MB.6 (Compl. 20) MB’s managing shareholder, Borchers,

refused to provide Lemon with a copy of the “confidential memorandum” prepared

by MB’s legal counsel that she provided to other shareholders prior to its circulation

to members of the board of directors.7 (Compl. ¶23)) In Lemon’s invocation for

participation in the STL plan, defendant MB required her to be subjected to a vote

by the managing committee and board of directors unlike others with true power

and control. (Compl. ¶¶ 33-48) Inconsistent with being anything other than an

“employee,” defendant MB directed Lemon to leave the board meeting because it

had planned to discuss the discriminatory and retaliatory acts, at issue, about

Lemon. (Compl. ¶41) Further indicative of Lemon’s lack of power or control, MB’s

board of directors further excluded Lemon from the “privileged information”

regarding her STL request. (Compl. ¶¶ 41-42)




6 The reasonable implication being if MB’s lawyer represented MB and Lemon were a true owner
with control and influence, there would at the very least be a potential conflict-of-interest in the
representation.
7 If she were a true “owner” with power and control, Lemon would have an absolute legal right to

review the “confidential memorandum” just as others with power and control of MB. However, the
reasonable implication by Borchers’ action, or inaction, underscore her understanding that Lemon
had no such power or control.

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       Moreover, defendant MB would set the rules and regulations pertaining to

Lemon’s work and professional relationship with the firm. (Compl. ¶¶ 14(b), 50)

Defendant MB reviewed Lemon’s work to ensure that assignments were met

satisfactorily and provided Lemon with feedback regarding the same under its

quality control procedures. (Compl. ¶14(c)) Defendant MB required Lemon to report

to someone with higher authority within the corporate organization. (Compl. ¶¶

14(d), 59) Further, defendant MB intended that Lemon be an employee as evidenced

by the written employment agreements and shareholder agreements and by

admissions from other shareholders. (Compl. ¶ 14(e)) For each tax year, defendant

MB would issue Lemon a Form W-2 for purposes of reporting her gross income to

the Internal Revenue Service.8 (Compl. 14(f))

       Defendants argue that the “Employment Agreement . . . expressly states the

“employment” ends when the individual becomes a Shareholder” and cites its

Exhibit A, ¶ 3 as the source. (DB p. 8) However, a close reading of the “Employment

Agreement” cited by Defendants reveal their assertion to be a misrepresentation

through misapprehension of the cited content. Paragraph 3 of the “Employment

Agreement” reads: “This Agreement shall be terminated by the EMPLOYEE at any

time upon thirty (30) days’ written notice which written notice shall be considered

to be given upon the offer of any stock in the EMPLOYER, by the EMPLOYEE, to

the EMPLOYER.” (DB, Ex. A, ¶ 3)(Emphasis added)



8Form W-2 (officially, “Wage and Tax Statement”) is an Internal Revenue Service form used to
report wages paid by employers to employees along with the taxes withhold from them. See generally
26 U.S.C. § 6051, 26 C.F.R. §§ 31.6051-1 and 31.6051-2.

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       While Defendants contend that this provision “expressly states” that the

employment ended “when the individual becomes a Shareholder,” a close reading

indicates quite the opposite: that written notice that the “Employment Agreement”

is terminated shall be automatically considered upon the Employee offering to give

up Employer’s stock to the Employer.9 Id. By its own terms, the Employment

Agreement indicates that Lemon as an “employee” will still be able to own stock at

some point in the future without necessarily losing her “employee” status, which, as

Defendants’ exhibit shows, is precisely what had happened. Contrary to Defendants’

contentions in their brief, the documents submitted by Defendants, as referenced in

the complaint by Lemon, actually underscore Lemon’s allegations about being an

“employee” of defendant MB, notwithstanding the fact of owning some shares.

       There is simply nothing that Defendants can point to that would indicate

that Lemon at any time exerted control or had the right to exert control or even

shared control over the MB organization. Lemon had no control over her fate, as the

control-group within MB were exhibiting. She could not cause the cessation of the

extraordinary stress, humiliation, and hostile work environment that the control-

group within MB inflicted on her, so she tendered her resignation rather than be

faced with termination by the control-group or continue suffering from the resulting

mental duress. (Compl. ¶¶ 60-61) If Lemon had “control” or the right to exert

“control” within MB, she would have most certainly caused the hostile work




9Defendants’ mischaracterization lies in the fact that the “triggering event” is the employee offering
to give up her [already issued] stock to the “Employer,” not whenever stock is issued, if at all.

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environment and retaliation towards her to cease. Unfortunately, as demonstrated

in the complaint, Lemon had no such control.

      As the Third Circuit has observed, “the Clackamas test is a fact intensive

one; therefore, cases requiring application of the test may generally require

resolution at the summary judgment stage, rather than at the motion to dismiss

stage. Mariotti v. Mariotti Bldg. Prods., 714 F.3d 761, 768 n.5 (3d Cir. 2013). Lemon

respectfully requests that the Court issue an order denying Defendants’ motion to

dismiss her claims under Title VII, pursuant to Fed. R. Civ. P. 12(b)(6).

      III.   DEFENDANTS’ MOTION TO DISMISS LEMON’S § 1981
             CLAIM SHOULD BE DENIED UNDER FED. R. CIV. P.
             12(b)(6) BECAUSE LEMON ALLEGED SUFFICIENT
             FACTS ESTABLISHING A PLAUSIBLE CLAIM FOR
             RACE DISCRIMINATION.

      Defendants argue that Lemon’s § 1981 claim “also must be dismissed”

because she purportedly failed to allege sufficient facts showing it plausible that

Defendants discriminated against Lemon because of her race in denying her

invocation of the STL plan. (DB p. 1)

      Section 1981 affords a federal remedy against discrimination in private

employment inter alia on the basis of race. Johnson v. Ry. Express Agency, Inc., 421

U.S. 454, 459-60 (1975). The statute provides that “all persons . . . shall have the

same right . . . to make and enforce contracts . . . as is enjoyed by white citizens.” 42

U.S.C. § 1981(a). This right extends, for example, to “the making, performance,

modification, and termination of contracts, and the enjoyment of all benefits,

privileges, terms, and conditions of the contractual relationship.” Id.; § 1981(b).


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        The elements required to establish a prima facie case are the same under

Title VII and Section 1981. James v. Booz-Allen & Hamilton, Inc., 368 F.3d 371, 375

n.1 (4th Cir. 2004). To establish a prima facie case of discriminatory denial of an

employment benefit, a plaintiff must show that: (1) the plaintiff is a member of a

protected class; (2) the defendant provided a certain benefit to its employees; (3) the

plaintiff was eligible for the benefit; and (4) the plaintiff was not provided the

benefit under circumstances giving rise to an inference of discrimination.

Thompson v. Potomac Elec. Power Co., 312 F.3d 645, 649-50 (4th Cir. 2002); c.f.

Swierkiewicz, 534 U.S. at 510-11(A plaintiff is not required to plead facts that

constitute a prima facie case to survive a motion to dismiss);10 McCleary-Evans, 780

F.3d at 584(same).

        In determining whether Lemon’s claims contain factual allegations that raise

the right to relief above the speculative level, there is no dispute that plaintiff

alleged she was a member of a protected class. (Compl. ¶1) As admitted by

Defendants in their brief, there is also no dispute that defendant MB provided a

STL plan as a benefit to its shareholders, including Lemon. (Compl. ¶¶ 33-34)(DB

pp. 10, Ex. B, pp. 140-61; Ex. D)

        Instead, Defendants raise issues as to whether Lemon was eligible to

participate in the STL plan and whether she was not provided the benefit of the



10“When a federal court reviews the sufficiency of a complaint, before the reception of any evidence
either by affidavit or admissions, its task is necessarily a limited one. The issue is not whether a
plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence to support the
claims . . . Before discovery has unearthed relevant facts and evidence, it may be difficult to define
the precise formulation of the required prima facie case in a particular case.” Swierkiewicz, 534 U.S.
at 511-12.

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STL plan under circumstances giving rise to an inference of discrimination. Lemon

alleged that she qualified to participate in MB’s STL plan through not only her own

health condition, but also further qualified to participate from two additional

independent qualifying events that were being experienced by her immediate family

members. (Compl. ¶¶ 34-37) Defendants’ evidence actually corroborates these two

independent qualifying conditions: prolonged illness suffered by the Shareholder for

which leave is recommended by a physician and prolonged serious illness of an

immediate family member that imposes a substantial burden on the Shareholder

and impairs the ability of the Shareholder to meet the 1600 billable hour

requirement. (DB Ex. D, p. 3) Lemon alleged that she provided MB with the

appropriate medical documentation supporting her application for STL

participation. (Compl. ¶ 37) By their actions, or rather inactions, Defendants tacitly

concede these qualifications; of all the voluminous documents that Defendants

provided to the Court, as attached to their brief, Defendants tactically chose to omit

attaching Lemon’s request that she submitted showing her qualifications (in

addition to the explicit allegations contained in the complaint). (DB Ex A-D)

      Moreover, Lemon alleged that MB’s practice as for what constituted

“qualifications” was ministerial in practice and that the management committee

would merely “inform” the board of directors about the attorney/employee’s election

to participate in the STL plan. (Compl. ¶¶ 35-36) Lemon further alleged that in the

past MB had never required other shareholders or employees to disclose their

specific medical conditions or otherwise prove qualification for the STL plan.



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(Compl. ¶ 44) Lemon undoubtedly alleged facts showing that she was plausibly

qualified to participate in MB’s STL plan, particularly in light of MB’s practice to

grant “qualification” for some shareholders, other than Lemon, in a ministerial

manner, even for conditions not covered by its own plan. (Compl. ¶ 43)

       Lemon also alleged sufficient facts showing Defendants denied her the

benefit of participating in the STL plan under circumstances giving rise to an

inference of discrimination. Determining whether invidious discriminatory purpose

was a motivating factor demands a sensitive inquiry into such circumstantial and

direct evidence of intent as may be available. Vill. of Arlington Heights v. Metro.

Hous. Dev. Corp., 429 U.S. 252, 266 (1977). The historical background of the

decision is one evidentiary source, particularly if it reveals a series of official actions

taken for invidious purposes. Id. at 267. Departures from the normal procedural

sequence also might afford evidence that improper purposes are playing a role. Id.

Substantive departures too may be relevant, particularly if the factors usually

considered important by the decisionmaker strongly favor a decision contrary to the

one reached. Id. The administrative history may be highly relevant, especially

where there are contemporary statements by members of the decisionmaking body,

minutes of its meetings, or reports. Id. at 268.

       In their brief, Defendants seek for the Court to see this question essentially

in a vacuum. Defendants do not explain the totality of the circumstances in their

brief as for the allegations made by Lemon. Defendants completely ignore the

pertinent facts related to Lemon’s initial experience with a hostile work



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environment and retaliation arising from her cooperating in an investigation about

discrimination. (See Compl. ¶¶ 13-32) It is important to consider the context,

background, and firm culture for overt retaliation as for the investigation

concerning a hostile work environment because of sex and retaliation related

thereof, particularly when it involves the same set of persons. Sprint/United Mgmt.

Co. v. Mendelsohn, 552 U.S. 379, 388 (2008)(whether evidence of discrimination by

other supervisors is relevant in an individual discrimination case is fact based and

depends on many factors, including how closely related the evidence is to the

plaintiff's circumstances and theory of the case). Evidence of a discriminatory and

retaliatory work culture is highly relevant to the question as to whether race was a

motivating factor underlying a firm’s decision to deny a benefit contrary to its past

standards and practices. Just four months before a board vote was taken to deny

Lemon the STL plan benefit, board member Julie Richardson told another

shareholder that Lemon “played the black card too much” even though the

statement was not based on any underlying fact. (Compl. ¶¶ 27-28) Lemon alleged

on information and belief that Richardson continued to spread the inaccurate and

ugly stereotype of Lemon “playing the black card too much” in an effort to discredit

and isolate Lemon from collegiality and support, which discovery could reveal lasted

up to the board vote to deny STL benefit four months later. (Compl. ¶ 29)

      Against this discriminatory and retaliatory backdrop, Lemon requested the

firm’s STL benefit as a qualified applicant. (Compl. ¶ 33) Lemon alleged that prior

to her election, MB would “ministerially confirm an attorney/employee’s STL



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request and simply inform the board of directors about the attorney’s election to

participate in the STL plan. (Compl. ¶ 35) However, MB treated Lemon

differently—MB subjected Lemon to insensitive questioning about her health and

required medical documents (which it did not require for others). (Compl. ¶ 36)

Once Lemon obtained the requested medical documentation (that MB did not

require for others), MB informed Lemon that she would instead be required to

address MB’s board of directors with the request. (Compl. ¶ 37) Of the hundreds of

pages of documents that Defendants attached to their brief, they omitted including

any minutes of other STL decisions showing other attorneys had been required to

present their health conditions, etc. to the board of directors in an effort to secure

approval for STL decisions. (DB Ex A-D)

      After openly discussing Lemon’s health conditions, MB’s board of directors

denied her invocation of STL leave. (Compl. ¶¶ 39, 42) Among the voluminous

documents Defendants attached to their brief, Defendants omitted inclusion of any

board minutes that would indicate at least a putative legitimate business reason for

denying Lemon’s request for STL leave. (DB Ex A-D) Lemon further alleged that

MB directed that Lemon and another board member (who had been a complainant

of sex discrimination) to leave the board meeting “so that the board may discuss the

matter in their absences.” (Compl. ¶ 40) Lemon and the other board member had a

legal right to be in attendance at the board meeting. The fact that Defendants

excluded them from the board meeting where a discussion of the true reasons would

take place further give rise to an inference of discrimination.



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      Lemon specifically alleged that MB’s board of directors had never previously

voted on the issue of STL election as it pertained to its Caucasian attorneys,

including those seeking short-term leave for such events as cataract surgery,

undisclosed illnesses (thus indicating no reason need be provided), and for one who

would not qualify for the STL plan under policy, but was nonetheless permitted to

participate. (Compl. ¶ 43) Lemon also alleged facts showing MB’s attempts to re-

write their past notices of meetings in an effort to help it in the event of legal action.

(Compl. ¶¶ 49-52)

      Defendant Borchers played a significant role behind the denial by MB’s board

of directors for Lemon to participate in the STL plan for which she was qualified.

(Compl. ¶¶ 45-46) Lemon became aware on November 2, 2016 that MB’s

management committee (of which Borchers was a member) had openly discussed

racial discrimination inter alia and its retaliatory actions against Lemon during at

least one of its meetings. (Compl. ¶ 54) Richard v. Bell Atl. Corp., 946 F. Supp. 54,

74 (D.D.C. 1996)(Individuals may be liable under Section 1981 when they have been

“personally involved in the discrimination” and have “directly participated” in the

alleged discriminatory acts.”)

      On November 5, 2016, Borchers emailed Lemon to appear at another board of

directors meeting on November 8, 2016 to discuss “workplace concerns” with no

elaboration. (Compl. ¶ 59) Lemon provided MB’s management committee with a

doctors’ note to excuse her from having to appear before the board of directors for

health reasons related to the accompanying stress. (Compl. ¶ 60) Lemon resigned



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from her employment shortly thereafter. (Compl. ¶ 61) When reviewed in their

totality, Lemon alleged sufficient facts giving arise to an inference of race

discrimination for MB’s denial of her request for participation in MB’s STL plan.

      In their brief, Defendants asserted essentially that Lemon had not alleged

damages. Compensatory damages may be inferred from the circumstances as well

as proven by the testimony. Ferrill v. Parker Group, Inc., 168 F.3d 468 (11th Cir.

1999). The standard of review for awards of compensatory damages for intangible,

emotional harms is deferential to the fact finder because the harm is subjective and

evaluating it depends considerably on the demeanor of the witnesses. Defendants’

assertions concerning the harm, losses and damages incurred by Lemon by

Defendants’ actions are contained in the complaint. (Compl. ¶¶ 37, 60-61, and 72)

      As such, Lemon alleged facts showing a plausible claim for racial

discrimination under Section 1981. The Court should deny Defendants’ motion to

dismiss for purported failure to state a claim under Fed. R. Civ. P. 12(b)(6).

                                  CONCLUSION:

      For the reasons set forth herein, Lemon respectfully requests that the Court

deny Defendants’ motion to dismiss her claims in this action and that Lemon have

the opportunity to make her case following discovery in this action.




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        This the 10th day of September, 2018.

                                         BAILEY & DIXON, LLP


                                   By:   /s/ J. Heydt Philbeck
                                         J. Heydt Philbeck
                                         434 Fayetteville Street, Suite 2500
                                         Raleigh, North Carolina 27601
                                         Telephone: (919) 828-0731
                                         Facsimile: (919) 828-6592
                                         Email: hphilbeck@bdixon.com
                                         NC State Bar # 19379

                                         Attorneys for Plaintiff




                          CERTIFICATE OF WORD COUNT:

        Pursuant to Local Civil Rule 7.2(f)(4), I hereby certify that the foregoing

document complies with the type-volume limitations of Local Civil Rule 7.2(f) and

contains 7,647 words (8400 word limit), excluding those portions exempted by the

rule.

        This the 10th day of September, 2018.


                                         /s/ J. Heydt Philbeck
                                         J. Heydt Philbeck
                                         Bailey & Dixon, LLP




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                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                              No. 5:18-cv-200

SHAWNA CANNON LEMON,              )
                                  )
                       Plaintiff, )
                                  )
    v.                            )            CERTIFICATE OF SERVICE
                                  )
MYERS BIGEL, P.A., et al.,        )
                                  )
                       Defendants )

      The undersigned counsel hereby certifies that on this date, a copy of the

foregoing PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO

DEFENDANTS’ MOTION TO DISMISS was electronically filed with the Clerk of

Court for the EDNC using the CM/ECF system, which should send notification of

such filing to the counsel for the parties listed below, who are believed to be

CM/ECF participants.

      This the 10th day of September, 2018.

                                        BAILEY & DIXON, LLP


                                  By:   /s/ J. Heydt Philbeck
                                        J. Heydt Philbeck
                                        434 Fayetteville Street, Suite 2500
                                        Raleigh, North Carolina 27601
                                        Telephone: (919) 828-0731
                                        Email: hphilbeck@bdixon.com
SERVED ON:
Kerry A. Shad, Esq.
Smith, Anderson, Blount, et al.
Post Office Box 2611
Raleigh, NC 27602-2611
Email: kshad@smithlaw.com

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